Case 2:96-cV-02520-.]PI\/| Document 848 Filed 08/08/05 Page 1 of 3 Page|D 1648

IN THE UNITED STATES DISTRICT COURT ‘
FoR THE wESTERN DISTRICT oF TENNE:SSER=“.ED BY _.` D-°~

WESTERN DIVISION .
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’ W!MS M. GOU\D
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V. NO. 96-2520 Ml/P

SHELBY COU`NTY, TENNESSEE,
et al.,

Defendants.

 

ORDER DIRECTING CLERK TO DISBURSE FUNDS

 

The Assistant to the Special Master in this case, Wanda J.
Kilgore-Schneider, has submitted an invoices for fees and
expenses incurred in connection with this matter for the months
of April, May, and June of 2004, in the amounts of $6,738.82,
$6,450.70 and $6,563.44. Accordingly, the Clerk of Court is
directed to send the total amount of $19,752.96 to the Assistant
Special Master, Wanda J. Kilgore-Schneider at, 65 Sunhaven Drive,

Jackson, Tennessee, 38305.

IT IS SO ORDERED TI'IIS §§'-DAY OF August, 2005.

@MM

JO P. MCC'ALLA
TED STATES DIS'I‘RICT JU'DGE

 

This document entered on the docket sheet ln compliance
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Honorable J on McCalla
US DISTRICT COURT

